1          Jill H. Ford
2
           Chapter 7 Trustee
           P.O. Box 5845
3          Carefree, AZ 85377
4
           Telephone: (480) 575-8250
           email: jford@trustee.phxcoxmail.com
5
                         IN THE UNITED STATES BANKRUPTCY COURT
6

7                                   FOR THE DISTRICT OF ARIZONA
8
           In re:                                 )   Chapter 7
9                                                 )
           BANG, KEVIN A                          )   Case No. 2:16-14183-PHX BKM
10
           BANG, PAMELA J                         )
11                                                )   APPLICATION FOR ORDER
                                                  )   FOR PAYMENT OF UNCLAIMED
12                                                )   FUNDS TO THE U.S.
13                  Debtor(s).                    )   BANKRUPTCY COURT
                                                  )
14

15
                    JILL H. FORD, Trustee, reports that the following dividend checks have
16

17         been issued and not presented for payment, and more than ninety (90) days has
18
           elapsed from the date of issuance.
19
             CHECK         DATE           CREDITOR'S NAME AND                 AMOUNT
20
             NO.           ISSUED         ADDRESS
21
             118           6-11-19        US DEPT OF EDUCATION                $8564.45
22                                        P.O. BOX 530229
23                                        ATLANTA, GA 30353-0229

24

25           131           7-2-19         US DEPT OF EDUCATION                $687.45
                                          P.O. BOX 530229
26                                        ATLANTA, GA 30353-0229
27
                    The Trustee asks that an order be entered pursuant to 347(a) of the
28




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1          Bankruptcy Code directing the Trustee to pay over the amount of $9251.90 to the
2
           Clerk of the Court to be deposited in the Registry thereof.
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4
           September 25, 2019                      /s/ Jill H. Ford
           DATE                                    JILL H. FORD, TRUSTEE
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